           Case 1:12-cv-00853-EGS Document 74 Filed 04/30/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


METROPOLITAN WASHINGTON
CHAPTER, ASSOCIATED BUILDERS
AND CONTRACTORS, INC., et al.,

      Plaintiffs,
                                                   Civil Action No. 12-853 (EGS)
      v.

DISTRICT OF COLUMBIA,

      Defendant.


     DEFENDANT’S NOTICE OF FILING OF DEPOSITION TRANSCRIPTS

      The District of Columbia (the District) files this notice to confirm that plaintiffs

filed the six deposition transcripts [73] after consultation with the District, and that

the filing fulfils the Parties’ obligations in response to the Court’s April 24, 2020

Minute Order.

Dated: April 30, 2020.            Respectfully submitted,

                                  KARL A. RACINE
                                  Attorney General for the District of Columbia

                                  TONI MICHELLE JACKSON
                                  Deputy Attorney General
                                  Public Interest Division

                                  /s/ Fernando Amarillas
                                  FERNANDO AMARILLAS (Bar No. 974858)
                                  Chief, Equity Section

                                  /s/ Conrad Z. Risher
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Case 1:12-cv-00853-EGS Document 74 Filed 04/30/20 Page 2 of 2




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